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                       EXHIBIT 3
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                                                                                                                                              Report Required by the Ethics
          AOIO                                    FINANCIAL DISCLOSURE REPORT
                                                                                                                                                in Government Act of1978
       Rev.112013
                                                           FOR CALENDAR YEAR 2012                                                              (5 U.S.C. app. §§ 101-111)




I. Person Reporting (last name, first, ,.;iddle initial)                          2. Court or Organization                                       3. Date of Report


 Middlebrooks, Donald M.                                                           U.S.D.C. - S.D. FLA (WPB)                                                06/26/2013



4. Title (Article IJI judges indicate active or senior status;                    Sa. R eport Type (check appropriate type)                      6. Reporting Period
        magistrate judges indicate full- or part-time)
                                                                                         Nomination                Date                                     01/01/2012
                                                                                  D
 U.S. District Ct. Judge-Active                                                                                                                                  to
                                                                                  D       Initial
                                                                                                            [{]   Annual
                                                                                                                              D   Final
                                                                                                                                                            12/31/2012
                                                                                  Sb.
                                                                                        D       Amended Report

7. Chambers   or   Office Address


 701 Clematis Street, Room 257
 West Palm    Beach, FL 3340I


                              IMPORTANTNOTES: The instructions accompanying this form must be followed. Complete                              al/parts,
                                     checking the NONE box for each part where you have no reportable information.




I. POSI'JI0NS.              (Reporting individual only; see pp. 9-13 offiling instr11ctions.)


D        NONE        (No reportable positions.)

                                             POSITION                                                                      NAME OF ORGANIZATION/ENTITY


I.    Partner (22.5% Interest)                                                                      Lake Lucy Groves (Operations and most of assets sold - See Section VIII)



2.    50%0wner                                                                                      Billie Moore Farms, LLC, a Georgia Limited Liability Compnay



3.



4.



5.




II. AGREEMENTS.                       (Reporting individ11al only; see pp. 14-16 offiling instr11ctions.)


[{]      NONE        (No reportable agreements.)

                                                                                                             PARTIES AND TERMS


I.


2.



3.
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III. N0 N-JNVESTMENT JNCOME.                                         (Reporting individual and spouse; see pp. 17-24 offiling instructions.)


A. Filer's Non-Investment Income

[ZJ       NONE      (No reportable non-investment income.)

                                                                                    SOURCE AND TYPE                                                     INCOME
                                                                                                                                                    (yours, not spouse's)


I.



2.



3.



4.




B. Spouse's Non-Investment Income - lfyou were married during any portion ofthe reporting year, complete this section.
(Dollar amount not required exceptfor honoraria.)


D         NONE      (No reportable non-investment income.)

                                                                                    SOURCE AND TYPE


I. 2012                                               Palm Beach County School Board - Salary



2.



3.



4.




JV. REIMBURSEMENTS                              -transportation, lodging, food, entertainment.

(Includes those to spouse and dependent children; see pp.   25-27 offi/ing instructions.)

[ZJ       NONE      (No reportable reimbursements.)

               SOURCE                            DATES                           LOCATION                           PURPOSE                    ITEMS PAID OR PROVIDED


I.


2.


3.


4.


5.
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V. GJFTS.       (Jnc/11des those to spouse and dependent children; see pp. 28-3 I offiling instructions.)


[{]     NONE     (No reportable gifts.)

                 SOURCE                                                           DE SCRIPTION                            VALUE


I.



2.



3.



4.



5.




VJ. LJABJLJTIES.               (Includes those ofspouse and dependent children; see pp. 32-33 offiling instructions.)


D        NONE    (No reportable liabilities.)

               CREDITOR                                                            DE SCRIPTION                         VALUE CODE


I.    Northern Trust Bank                             Loan                                                                  L



2.



3.



4.



5.
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VII. INVESTMENTS and TRUSTS                                                       --   income, value, transactions r1nc1udes those ofspouse and dependent children; see PP· 34-60 offiling instructions.)


D             NONE          (No reportable income, assets, or transactions.)

                                       A.                                                B.                                C.                                                           D.
                        Description of Assets                                    Income during                     Gross value at end                              Transactions during reporting period
                        (including trust assets)                                 repo11ing period                 of reporting period

                                                                            (1)                 (2)                 (I)          (2)                  (I)            (2)          (3)             (4)                  (5)
                     Place "(X)" after each asset                         Amount          Type (e.g.,             Value         Value             Type ( e.g.,      Date      Value              Gain            Identity of
                    e><empt from prior disclosure                         Code 1           div., rent,            C"de 2        Method            buy, sell,      mm/dd/yy    Code2             Code 1           buyer/seller
                                                                           (A-H)              or int.)             (J-P)        Code3         redemption)                         (J P)
                                                                                                                                                                                   -             (A-H)            (if private
                                                                                                                                (Q-W)                                                                            transaction)



I.          Lake Lucy Groves, Lake Cty, FL                                                    None                   L            w


2.          Coca Cola Common Stock                                           E            Dividend                  N             T                  Buy          12/31112         K                        SEE VIII
                                                                                                                                                    (add'!)

3.          Berkshire Hathaway Common Stock A                                                 None                  Pl            T


4.          Berkshire Hathaway Common Stock B                                                 None                  M             T


5.          Exxon Mobil Common Stock A                                       c             Dividend                 M             T                  Buy          03/19/12         K
                                                                                                                                                    (add'!)

6.                                                                                                                                                   Buy          05/30/12         K
                                                                                                                                                    (add'!)

7.          Microsoft Corporation Common Stock                               A             Dividend                                                  Sold         09/17/12         L               D


8.          Johnson & Johnson Common Stock                                   A             Dividend                                                  Sold         04/16/12         K               A


9.          I Shares MSC! Emerging Markets Index                             c             Dividend                                                  Sold         03/12/12         M               E
            Fund

10.          I Shares MSC! EAFE Index Fund                                   D             Dividend                  L            T                  Sold         03/12/12         L               A
                                                                                                                                                     (part)

11.         Vanguard Total Stock Mkt Viper                                   A             Dividend                  K            T


12.          U.S. Treasury Notes                                             D                Interest               M            T


13.          .2279279%   Int.                          Airport                                 None                  K            Q
             Ind. Pk. Orlando

1.4.         Holwood, Inc.                                                                     None                  K            w


15.          Citibank, N.A. Bank Deposit Program                             B                Interest               M            T
             (Cash)

16.          Northern Trust Checking Account                                 B                Interest               J            T


17.          Google Common Stock                                                               None                                                  Sold         03/15/12         L               E




     I. Income Gain Codes:                  A=$1.000 or less                             ll=$1.00 1-$2.500                        c =$2.501-$5.000                    D=$5,001 - $15 .000                      E=$15,001 -$50,000

          (Sec Columns llI and   04)        F=$50,001-$100.000                           G=$I00,00 I-$1.000.000                   JI I =$1.000.001 - $5.000.000       fl2 =Morethan $5.000,000
     2.   Value Codes                       J=$15 .000 or less                           K=$15.00J-$50.000                        L=$50.001   •   $100.000            M =$100,001-$250.000

          (Sec Columns CI and 03)           N=$250.001 • $500,000                        0=$500,00 I     •   $1.000.000           Pl =$1.000,001-$5.000,000           P2=$5,000.001       •   $25,000,000

                                            1'3=$25.000.00 I   ·   $50,000.000                                                    1'4=More than $50.000.000
     3.   Value Method Codes                Q =Approisal                                 R =Cost (Real Estate Only)               S =Assessment                       T =Cash Market
          (Sec Column C2)                   U =Book Value                                V=Othcr                                  W =Estimated
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those ofspouse and dependent children; see PP· 34-60 offiling instructions.J

D          NONE          (No reportable income, assets, or transactions.)

                                  A.                                           B.                                c.                                                      D.
                     Description ofAssets                                Income during                   Gross value at end                          Transactions during reporting period
                    (including trust assets)                             reporting period                ofreporting period
                                                                    (I)              (2)                  (I)          (2)                (!)          (2)         (3)         (4)              (5)
                 Place "(X)" after each asset                    Amount         Type (e.g.,             Value         Value         Type (e.g.,       Date       Value        Gain           Identity of
                 exempt from prior disclosure                    Code I          div., rent,            Code 2        Method          buy, sell,     mm/dd/yy Code 2          Code I        buyer/seller
                                                                  (A-H)             or int.)             (J-P)        Code3        redemption)                    (J-P)       (A-H)          (ifprivate
                                                                                                                      (Q-W)                                                                 transaction)



 18.     Archer Daniels Midland                                     A           Dividend                                                 Sold        09/17/12      K            A


 19.     Leucadia National                                           A          Dividend                  K             T


 20.     Billie Moore Farms, LLC                                                    None                  M             R


 21.     Pimco Total Return Fund Class A                             c           Int./Di v.               L             T


 22.     Pimco All Asset All Authority                               D           l nt./Div     .          M             T


 23.     General ElectriC                                            A          Dividend                                                 Sold        03/12/12      K            D


 24.     Apple                                                                      None                   L            T                Sold        03/15/12      K            E
                                                                                                                                         (part)

 25.                                                                                                                                     Sold        08/16/12      K            D
                                                                                                                                         (part)

 26.                                                                                                                                     Buy         10/09/12      L
                                                                                                                                        (add'!)

 27.                                                                                                                                     Buy         10/31/12       J
                                                                                                                                        (add'!)

 28.                                                                                                                                    . Buy        11/02112       J
                                                                                                                                         (add'!)

 29.                                                                                                                                     Buy         I J/07/12      J
                                                                                                                                        (add'!)

 30.      Costco                                                     A           Dividend                  K            T                 Buy        09119112      K


 31.                                                                                                                                     Buy         10/19/12       J
                                                                                                                                        (add'!)

 32.      IBM                                                        B           Dividend                  L            T                 Buy        0519112       K


 33.                                                                                                                                     Buy         5/18/12       K
                                                                                                                                        (add'!)

 34.                                                                                                                                     Buy         5/23/12        K
                                                                                                                                        (add'!)




   I. Income Gnin Codes:               A =$1.000 or less                      B =$1,00I -$2.500                         c =$2,501 -$5.000               0=$5.001 -$15.000               E =$15,001 -$50,000

       (Sec Columns U I nnd D4)         F =$50.001 - $100.000                 G =$100.00I      -   $1.000.000           HI =$1.000.001 -$5,000.000      112 =More than $5.000.000

   2. Value Codes                      J =$15.000 or less                      K =$15,001 - $50.000                     L=$50,001 -$100.000             M =$100.001 - $250.000

       (Sec Columns Cl and 03)          N =$250.001 -$500.000                 0 =$500.00I - $1.000.000                  Pl =$1,000.001 -$5,000.000      P2=$5.000.001 -$25,000.000

                                       1'3 =$25.000.00 I - $50.000.000                                                  1'4=More than $50,000.000
   3. Value Method Codes                Q =Appraisal                           R =Cost (Ren! Estate Only)               S =Assessment                   T=Cash Market
       (Sec Column C2)                  U =!look Value                         V =Other                                 W=Estimated
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VII. INVESTMENTS and TRUSTS                                                   -   income, value, transactions r1nc1udes those ofspouse and dependent children; see PP· 34-60 offiling instructions.)


D         NONE           (No reportable income, assets, or transactions.)

                                  A.                                                B.                            c.                                                        D.
                    Description ofAssets                                     Income during                Gross value at end                             Transactions during reporting period
                   (including trust assets)                              reporting period                 ofreporting period

                                                                        (I)                (2)             (I)          (2)                (I)             (2)        (3)         (4)               (5)
                Place:' "(X)" after each asset                       Amount          Type (e.g.,          Value        Value         Type (e.g.,          Date      Value        Gain            Identity of
                exempt from prior disclosure                         Code I           div., rent,        Code 2        Method          buy, sell,       mm/dd/yy Code 2          Code I         buyer/seller
                                                                      (A -H)             or int.)         (J-P)        Code3         redemption)                    (J-P)        (A -H)          (ifprivate
                                                                                                                       (Q-W)                                                                    transaction)



35.                                                                                                                                       Buy            6/1112       K
                                                                                                                                         (add'!)

36.                                                                                                                                       Buy           10/19/12      K
                                                                                                                                         (add'!)

37.     Daily Journal Corp.                                                              None               K            T                Buy           4113112       K


38.                                                                                                                                       Buy           11/16/12       J
                                                                                                                                         (add'!)

39.     NestleADR                                                                        None               K            T                Buy            4/4/12        J



40.                                                                                                                                       Buy           4113112        J
                                                                                                                                         (add'!)




  I. Income Gain Codes:                A=$1.000or less                              B=$1.00l-$ 2.500                     c=$2.501 . $5.000                  D=$5.001 , $15.000              E 415.001-$50.000

      (Sec Columns BI and   D4)        F=$ 50.001 -$100.000                         G=$100.001-$ 1,000.000               Ill =$1.000.001 - $5.000.000       H2 =More than $5.000.000

  2. Value Codes                       J =$15.000 or less                           K =$15,001-$50.000                   L=$ 50.001-$100.000                M=$100.001-$250.000

      (Sec Columns C l and 03)         N=$ 250.001   ·   $ 500.000                  0=$500.001 . $ 1 .000.000            Pl=$1.000.001-$ 5.000.000          P2=$5.000.001 - $25.000.000

                                       1'3=$ 25.000.00 I   •   $50.000.000                                               1'4=More than $50.000.000
  3. Ynlu c Method Codes               Q=Appraisal                                  R =Cost (Real Estate Only)           S =Assessment                      T =Cash Market
      (Sec Column C 2)                 U =Book Value                                V=Other                              W=Estimated
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VIII. ADDITIONAL INFORMATION OR EXPLANATIONS. (lndicatepartofreport.)

  Item Nurnber(From Part VII):


  I As noted previously, virtually all assets of Lake Lucy Groves were sold. The only remaining asset is an interest in, pursuant to the sales contract, two unplatted
  residential lots which have not yet been transferred to the partnership.


  2. Our   Coca Cola stock is set up for dividend reinvestment and also set up for automatic $250.00 contributions monthly. Because of the number of purchases, I
  aggregated them into a single purchase dated 12/3lI12.


  13. Appraisal Date 8/6/94.


  14. Previously disclosed shares           corporation                             Timberland in Crawfordville, GA sole asset of corporation.


  20. Billie Moore Farms, LLC is alt.:Ci corporation. I own 50%                  owns 50%. Its sole asset is land in Crawfordville, Georgia. It was purchased on July
  18, 2008 for $290,000 from Larry Stewart.
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IX. CERTIFICATION.


    I certify that all information given above (including information pertaining to my spouse and minor or dependent children, if any) is   ·



accurate, true, and complete to the best of my knowledge and belief, and that any information not reported was withheld because it met applicable statutory
provisions permitting non-disclosure.                          · •




    I further certify that earned income from outside employment and honoraria and the acceptance of gifts which have been reported are in
compliance with the provisions of 5 U.S.C. app. § 501 et. seq., 5 U.S.C. § 7353, and Judicial Conference regulations.




                                                                        Signature:   s/ Donald M. Middlebrooks



NOTE: ANY INDIVIDUAL WHO KNOWINGLY AND WILLFULLY FALSIFIES OR FAILS TO FILE THIS REPORT MAY BE SUBJECT TO CIVIL
AND CRIMINAL SANCT IONS (5 U.S.C. app. § 104)




                                              Committee on Financial Disclosure
                                              Administrative Office of the United States Courts
                                               Suite 2-301
                                              One Columbus Circle, N.E.
                                              Washington, D.C. 20544
